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            EXHIBIT 1
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                MDL NO. 2924
   PRODUCTS LIABILITY                                                         20-MD-2924
   LITIGATION

                                                               JUDGE ROBIN L. ROSENBERG
                                                      MAGISTRATE JUDGE BRUCE E. REINHART
   ___________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES


                       PLAINTIFFS’ OPPOSITION TO BRAND DEFENDANTS’
                             MOTION FOR SUMMARY JUDGMENT1



   DATED: August 1, 2022




   1
       This Motion is filed under seal pursuant to the Order at D.E. 5684.
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             Plaintiffs submit this Response in Opposition to Brand Defendants’ Motion for Summary

   Judgement, [D.E. 5697].

   I.        INTRODUCTION

             Defendants’ motion for summary judgment precariously hinges on the presumption that

   all 12 of Plaintiffs’ general causation experts will be precluded from testifying about each and

   every opinion they propose to offer on general causation.2           All the parties agree that this

   “litigation is about whether NDMA in Ranitidine can cause the types of cancers being alleged by

   the Plaintiffs.”3 That is, at least, until Defendants filed their motion for summary judgment.

   Willfully blind to the fact that their drug contains NDMA, Defendants’ now attempt to ask

   whether Ranitidine alone can cause cancer. That misdirection does not withstand scrutiny.

             By asking the wrong question, Defendants maintain that Plaintiffs will lack even a

   scintilla of expert testimony that speaks to any aspect of general causation. Focusing on the right

   inquiry, this Court will conclude that Plaintiffs prevail on general causation as a matter of law.

   NDMA is universally regarded as a potent carcinogen.4 That is a patent McCLain category one




   2
     To the extent Defendants’ presumption is wrong, summary judgment must be denied. See Amy v.
   Carnival Corp., 961 F.3d 1303, 1310-11 (11th Cir. 2020) (“a district court may ‘grant [a summary
   judgment] motion on grounds not raised by a party’ only ‘[a]fter giving notice and a reasonable time to
   respond.’”) (citing Fed. R. Civ. P. 56(f)) (emphasis in original).
   3
    Discovery Hearing Transcript of July 7, 2022 at 9:9-11 (statement of Jennifer Hill on behalf of the
   Brand Defendants).

   4
       See Appendix A (attached hereto). See also D. E. 5841, p. 5-7.


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   situation.5 At a minimum, Defendants cannot shoulder their heavy burden to snatch the question

   of general causation from the factfinder.

   II.     ARGUMENT

           “Pursuant to Fed. R. Civ. P. 56(a), summary judgment is proper ‘if the pleadings,

   depositions, answers to interrogatories, and admissions on file, together with the affidavits, if

   any, show that there is no genuine issue as to any material fact and that the moving party is

   entitled to judgment as a matter of law.’” Nassar v. Nassar, No. 20-CV-14033, 2022 WL

   1591358, at *2 (S.D. Fla. Apr. 27, 2022) (Rosenberg, J.), citing Grayson v. Warden, Comm'r,

   Ala. Dep't of Corr., 869 F.3d 1204, 1220 (11th Cir. 2017) (quoting Celotex Corp. v. Catrett, 477

   U.S. 317, 322 (1986)). When considering a summary judgment motion, a district court must

   view the evidence in the record and draw reasonable inferences from the evidence in the light

   most favorable to the non-moving party. Sconiers v. Lockhart, 946 F.3d 1256, 1260 (11th Cir.

   2020). And it “may not weigh conflicting evidence or make credibility determinations when

   reviewing a motion for summary judgment.” Jones v. UPS Ground Freight, 683 F.3d 1283, 1292

   (11th Cir. 2012) (citations omitted). Plus, “where the facts specifically averred by the non-

   moving party contradict facts averred by the movant, the motion must be denied, assuming the

   facts in dispute are material.” Nassar, 2022 WL 1591358, at *2, citing Lujan v. Nat'l Wildlife

   Fed'n, 497 U.S. 871, 888 (1990).




   5
     In McClain v. Metabolife Intern., Inc., 401 F.3d 1233, 1239 (11th Cir. 2005), the court broke down toxic
   tort cases into two categories, where in the first category, like the situation with NDMA present here, “the
   medical community generally recognizes the toxicity of the drug or chemical at issue.” The court
   provided similar examples “like asbestos, which causes asbestosis and mesothelioma; silica, which causes
   silicosis; and cigarette smoke, which causes cancer.” Id. The second category applies to situations
   where the “medical community does not generally recognize the toxicity of [a] drug combination or [one
   drug] alone. Id.


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           Plaintiffs’ experts have employed reliable and accepted methodologies to express their

   opinions that the NDMA in Ranitidine can cause cancer, which is why Defendants’ Daubert

   motions are not valid. Since Defendants’ summary judgment motion is based solely on a flawed

   presumption, it too is flawed and invalid.

           Defendants’ invalid motion fails for an independent reason: its failure to comport with

   S.D. Fla. Local Rule 56.1(a)(1) by missing any Statement of Material Facts. See, e.g., Campbell

   v. Allstate Ins. Co., Case No. 2:19-CV-14270-RLR, 2021 WL 148735, at *3 (S.D. Fla. Jan. 13,

   2021) (Rosenberg, J.) (“if a party fails to file a statement of facts that complies with Local Rule

   56.1, then consistent with Federal Rule of Civil Procedure 56, the Court may strike the

   statement, grant relief to the opposing party, or enter other sanctions that the Court deems

   appropriate.”) (citing S.D. Fla. L.R. 56.1(d)). Indeed, summary judgment should be entered in

   favor of Plaintiffs regarding the McClain category one condition that the NDMA in Ranitidine

   can cause cancer, leaving for a jury at trial the question of specific causation.

   III.      CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

   Motion.

           DATED: August 1, 2022.

                                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 1, 2022, a copy of the foregoing was electronically filed

    with the Clerk of the Court using CM/ECF and is being served on counsel via email pursuant to

    ECF No. 5684.


                                                              /s/ Robert C. Gilbert
                                                                  Robert C. Gilbert




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                                           APPENDIX A

           The following Appendix catalogs admissions from defense witnesses regarding the known

    carcinogenicity of NDMA. The exhibits cited herein are attached to the Declaration of Daniel Nigh

    filed contemporaneously with Plaintiffs’ opposition briefs to Defendants’ Daubert and Summary

    Judgment motions and bear the numbers as referenced in that Declaration. Objections are omitted

    from the excerpted testimony.

                         GSK’S ADMISSIONS REGARDING NDMA

                              Stephen Hobbiger, BSc, FRCP (Ed), DPM
                    Senior Vice President, Head of Safety and Medical Governance
                                 30(b)(6) Pharmacovigilance Witness

                                       Q. Okay. And, certainly, you would agree that GSK is
                                          aware that NDMA is a probable human carcinogen?

                                       A. The classification of NDMA is as a probable carcinogen
                                          in man, yes.

                                       Ex. 18 Hobbiger Dep. at 58:16-21.




                                       Andrew Whitehead, BSc.
                                    Nitrosamine Chemistry Director

                                       Q. Do you agree that they [nitrosamines] can cause cancer
                                          and thus, represent a serious health hazard?

                                       A. Nitrosamines are known to be, in certain animal models,
                                          carcinogenic. This specific nitrosamine, NDMA, is a
                                          probable carcinogen.

                                       Q. And "carcinogen," can you -- how do you -- what does
                                          that mean? What is a carcinogen?

                                       A. It -- it has the potential to interfere with DNA resulting
                                          in a cancer being formed.

                                       Ex. 31 Whitehead Dep. 38:16–39:2.

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                                      Andrew Searle
                      Director of Chemistry, Technical Shared Services
                      Author of GSK’s June 2020 Root Cause Analysis

                                 Q. You would agree that NDMA is a carcinogen, correct?

                                 A. It -- it's a suspected human carcinogen, as -- you know.

                                                            ***
                                 Q. I am asking why wouldn't you want a genotoxic
                                    carcinogen in the drug? What would result if it's in the
                                    drug that's being consumed by millions on a daily basis?
                                    What would happen, Mr. Searle?

                                 A. What -- what can happen? Well, there is a potential, but
                                    how much, how long, I couldn't tell you the answer to
                                    that. You know, carcinogens can cause cancer, but there
                                    are so many factors in that, you know, the amount, the
                                    time, all of these things, and, you know, I can say no
                                    more than that.

                                 Ex. 27 Searle Dep. 158:16–20; 125:16–126:8.




                                       Liangfu Chen, Ph.D.
                 Scientific Director, DMPK Project Specialists, IVIVT-DMPK

                                 Q. Okay. And you agree that NDMA is a probable human
                                    carcinogen, correct?

                                 A. It's a probable human carcinogen, yes. That's the -- but
                                    the reason we have probable there, there's a lot of
                                    conditions there. So that's what -- it's a very
                                    complicated scientific matter, so the word "probable"
                                    probably is the best term we can come up with. But,
                                    yes, by itself just pick a term probable is probably a
                                    correct term to define NDMA as a probable human
                                    carcinogen.

                                 Ex. 9 Chen Dep. 14:23–15:8.




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                                    Anthony Lynch, Ph.D.
                      Senior Director, Genetic Toxicology & Photosafety

                                  Q. And the purpose of putting NDMA inside a class 3
                                     cabinet is to keep it completely separated from a worker
                                     who could be exposed to this genotoxic carcinogen,
                                     right?

                                  A. So the purpose of the cabinet is applied to all potential
                                     genotoxic carcinogens, not just NDMA. And when
                                     we're working in the laboratory, obviously we're using
                                     quite high levels of material in our tests, and, therefore,
                                     yeah, we want to minimize the exposure of the scientists
                                     to those potential genotoxic carcinogens, whether it’s
                                     NDMA or other nitrosamines or other compounds that
                                     are labeled hazardous and with potential genotoxicity
                                     and/or carcinogenicity labels.

                                  Ex. 23 Lynch Dep. 41:19–42:6.




                                   Leslie Driver, PharmD.
                 Director and Team Lead, US Classic and Established Products
                                 30(b)(6) Regulatory Witness

                                  Q. And you would agree that it's [NDMA] a known
                                     carcinogen; is that right?

                                  A. From a regulatory perspective, it's not, you know, an
                                     area of expertise, but what I can say is what the FDA has
                                     stated, which is NDMA is a carcinogen in animals, and
                                     it is -- can be a carcinogen in humans if it is given for a
                                     long period of time over acceptable levels.

                                  Ex. 13 Driver Dep. 29:7–15.




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                                     James Harvey, Ph.D.
                Global Director – Target and System Safety Non-Clinical Safety

                                  Q. My question to you is are you agreeing with the
                                     statement about nitrosamines being potent genotoxic
                                     agents and probable human carcinogens. I understand
                                     what this document states. It's the FDA guidance on
                                     nitrosamines. And my question to you is do you agree
                                     that nitrosamines are potent genotoxic agents and
                                     probable human carcinogens?

                                  A. Yeah, as defined in the document and they reference
                                     IARC, yes, I agree.

                                  Ex. 16 Harvey Dep. 53:8–17.




                  SANOFI’S ADMISSIONS REGARDING NDMA

                                  Dr. Gerda Glanzmann
                     Sanofi’s CHC Chief Quality Officer (formerly of BI)

                                  Q. Okay. And what is NDMA?

                                  A. NDMA is classified as a probable human carcinogen.

                                  Q. Okay. And a carcinogen means something that can
                                     cause cancer in the body?

                                  A. Yes. A carcinogen is something, a substance, which
                                     could promote the formation of cancer.

                                  Ex. 14 Glanzmann Dep. 35:7–16.




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                                        Claude Kugel
                    Head of Sanofi’s Analytical Science/Testing Department

                                 Q. And you understand that NDMA is a highly
                                    carcinogenic compound. Right?

                                 A. It's classified as a potent carcinogenic, yes.

                                 Q. You mentioned mutagenic impurities. NDMA is a
                                    mutagenic impurity. Correct?

                                 A. NDMA is recognized as a carcinogenic impurity or
                                    compound.

                                 Ex. 19 Kugel Dep. 25:9–13; 32:11–15.




                                         Scott Coapman
            Senior Director – Head of US Innovation Program & Pipeline Management
                  30(b)(6) Ranitidine, European Patent, Uquifa Testing Witness

                                  Q. My question was a little different. The statement that
                                     NDMA is a semi-volatile organic chemical with strong
                                     liver toxicity and is classified as a carcinogen of IARC
                                     category 2A, that's a true statement, right?

                                  A. I just understand it to be a potential human carcinogen
                                     from some of the past documents that we've reviewed.
                                                              ***
                                  Q. Now, on paragraph 20, it says, "Recently, most drug
                                     regulatory administrations, in particular the Food and
                                     Drug Administration, worldwide have decided to
                                     withdraw ranitidine compositions from the market
                                     because of concerns over levels of the contaminant
                                     NDMA which can increase with time and temperature,
                                     said substance being classified as a carcinogen." That's
                                     something Sanofi wrote in its application; is that right?

                                  A. That is something that was written. This was authored
                                     by Sanofi, yes.

                                  Ex. 12 Coapman Dep. 38:16-39:1; 62:17-63:2.




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                                     Matt Lochstampfor
                    Site Quality Head – Vice President, Quality Assurance
                          30(b)(6) Distribution and Storage Witness

                                 Q. Now, NDMA has been a recognized carcinogen for
                                    several decades, right?

                                 A. I – I now understand that it has been recognized for
                                    some time. I can’t speak to the length of that time.

                                 Ex. 22 Lochstampfor Dep. 234:17–22.




                                        Alan Main
                       Executive Vice President Consumer Healthcare
                        Member of the Sanofi Executive Committee

                                 Q. Mr. Main, as someone who's been in the consumer
                                    healthcare industry for 30 years, do you agree that
                                    NDMA is a probable human carcinogen?

                                 A. I am now aware of that, and I was made aware of that
                                    during the course of this -- this issue. I was not familiar
                                    with that prior to the -- this issue being raised in
                                    September 2019.

                                 Ex. 24 Main Dep. 147:13–21.




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                    PFIZER’S ADMISSIONS REGARDING NDMA

                                   Arthur Ciociola, Ph.D., F.A.C.G.
                         Pfizer Vice President Worldwide Regulatory Affairs
      Quality Assurance, Pfizer Global Research and Development (November 2003-April 2007)

                                   Q. And you understand that NDMA is a very -- is
                                      understood to be a very potent carcinogen, correct?

                                   A. Mr. Martinez, I also understand that nitrosamine
                                      NDMA is also considered to be a carcinogen.
                                                             ***
                                   Q. And you understood that NDMA was a substance that
                                      there's really no acceptable level of NDMA that should
                                      be present in any of the medications that you have
                                      overseen over your many years in the business, correct?

                                   A. Mr. Martinez, I'm going to respond to your question.
                                      I'm aware that NDMA is a carcinogen, and, as I shared
                                      earlier, I'm not a toxicology expert, and it makes
                                      common sense that no level would be an acceptable
                                      level of NDMA. But not being an expert or not
                                      knowing what the regulations are or the toxicology
                                      limits, I can't comment on whether zero level is the
                                      acceptable range, and -- but I'm not aware of NDMA in
                                      any drugs that I've ever worked on.

                                   Ex. 11 Ciociola Dep. 162:22–163:2; 171:3-19.




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                     BI’S ADMISSIONS REGARDING NDMA

                                  Dr. Robert Buchberger
                     Head of Global Patient Safety & Pharmacovigilance

                                 Q. Okay. So you’ve said multiple times now that the
                                    amount of NDMA that a person is exposed to
                                    determines whether or not it increases their risk for
                                    cancer. Is that a fair statement of what you've been
                                    saying?

                                 A. Like with any carcinogen, it is very important and
                                    always has to be considered what is the level of
                                    exposure to an individual. And that really determines
                                    whether there is the potential of a risk associated or not.

                                 Ex. 8 Buchberger Dep. 190:5–17.




                                Maria Lloris, Phd. (Uquifa)
                            Research and Development Manager
                                     30(b)(6) Witness

                                 Q. Dr. Lloris, do you agree that NDMA is a known human
                                    carcinogen?

                                 A. I do have some information from literature. I'm not an
                                    expert on that, so I have read.

                                 Q. You have read that in the literature when you were
                                    conducting your root cause analysis?

                                 A. Yes.

                                 Ex. 21 Lloris Dep. 78:20–79:1.




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             DEFENSE EXPERTS ’ ADMISSIONS REGARDING NDMA

                               Lewis Chodosh, M.D., Ph.D.
                      Subject Area: Biochemistry and Cancer Research

                                Q. When did you first become aware that NDMA was
                                   classified by IARC as a probable human carcinogen?

                                A. Again, sitting here right now I can't give you a specific
                                   date. I'd say more likely than not it would have been in
                                   the past 15 to 20 years, but I can't -- I can’t tell you
                                   beyond that.

                                Ex. 10 Chodosh Dep. 129:25–130:5.




                               Frederick Guengerich, Ph.D.
                               Subject Area: Biochemistry

                                Q. So, do you agree with GSK that NDMA exposure
                                   should be reduced to the extent possible?

                                A. I agree that -- well, first of all, I agree that NDMA can
                                   be a genotoxic – can be genotoxic, it can be a
                                   carcinogen, at least in specific -- specific conditions
                                   with regard to dose, animal species, et cetera. And this
                                   is kind of a general but vague statement, "exposure
                                   should be reduced to the extent possible." That don't
                                   really tell me what standard should be reduced to.

                                Ex. 15 Guengerich Dep. 228:1–13.




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                                   Craig Lindsley, Ph.D.
                       Subject Area: Chemistry and Drug Metabolism

                                Q. So, why is it important not to have NDMA in drug
                                   products, Doctor?

                                A. Because it's a probable human carcinogen. And so,
                                   obviously, if something is a probable human
                                   carcinogen, you want to reduce it to the acceptable
                                   intake levels.

                                Ex. 20 Lindsley Dep. 95:13–19.




                                   Bernard Olsen, Ph.D.
                            Subject Area: Analytical Chemistry

                                Q. Are you aware back in 1978 IARC stated that N-
                                   nitrosodimethylamine should be regarded for practical
                                   purposes as if it were carcinogenic to humans?

                                A. Again, if I could see that document, I could say
                                   whether that's what it said. But yeah, I -- my review of
                                   that document was to confirm the classification as a
                                   probable human carcinogen based on the animal data.

                                Ex. 26 Olsen Dep. 40:19–41:4.




                                 Mary Beth Terry, Ph.D
                               Subject Area: Epidemiology

                                Q. Is NDMA carcinogenic?

                                A. NDMA, as classified by IARC, is classified as probably
                                   carcinogenic --carcinogenic. But again, is not classified
                                   as a human carcinogen or Class 1, Group 1, because the
                                   human data are lacking.

                                Ex. 28 Terry Dep. 255:18–24.



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                                   Timothy Wang, M.D.
                    Subject Area: Gastroenterology and Cancer Research.

                                 Q. Doctor, I'm gonna get to the ranitidine, we're only the
                                    first hour in. And I'm gonna to get to the valsartan epi.
                                    But for now my question is focused on NDMA
                                    purposely. My question is, have you done a
                                    comprehensive and systematic review of the medical
                                    literature to form an opinion as to whether NDMA
                                    meets the criteria of being a human carcinogen?

                                 A. Yeah, I think I've already answered that. And so my
                                    answer is, yes, I've reviewed that literature. I've
                                    reviewed the literature and I've -- I've given my
                                    conclusions already about NDMA and the fact that it is
                                    -- it is a possible human carcinogen and certainly it's a
                                    rat carcinogen for sure.

                                 Ex. 30 Wang Dep. 69:5–24.




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